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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 11-cr-00184-WYD

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. LEON HENDERSON ASKEW,

      Defendant.


                                   MINUTE ORDER

ORDER ENTERED BY CHIEF JUDGE WILEY Y. DANIEL

       A Motion Hearing on Defendant’s Motion to Withdraw and for the Defendant to
Proceed Pro Se (ECF Doc. No. 79), filed April 3, 2012, is set for Monday, April 9, 2012,
at 4:00 p.m, in Courtroom A-1002.

      Dated: April 3, 2012.
